                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 1 of 14 Page ID #:258



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                                6
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                                7 TARGET CORPORATION, a Minnesota corporation
                                8
                                9                     UNITED STATES DISTRICT COURT
                          10                        CENTRAL DISTRICT OF CALIFORNIA
                          11
                             WONGAB CORPORATION,                      Case No. 2:18-cv-02625-JAK-AS
                          12 a Korean corporation,                    Hon. John A. Kronstadt Presiding
                          13                 Plaintiff,
                                                                      DEFENDANT TARGET
                          14           vs.                            CORPORATION’S OPENING
                                                                      MEMORANDUM RE: CLAIM
                          15 TARGET CORPORATION,                      CONSTRUCTION
                             a Minnesota corporation;
                          16 and DOES 1-10,
                          17                 Defendants.
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A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 2 of 14 Page ID #:259



                                1
                                2 I.     INTRODUCTION
                                3        Pursuant to Standing Patent Rule 3.5, Defendant Target Corporation
                                4 (“Defendant”) hereby submits its opening claim construction brief. The parties met
                                5 and conferred regarding the various claim terms at issue and were able to
                                6 successfully narrow the number of terms in dispute. There were a few terms used
                                7 in some of the dependent claims (Claim 5-8), however, which Defendant contends
                                8 fail to satisfy the requirements of 35 U.S.C. 112, discussed below. Finally, out of
                                9 the utmost of caution, Defendant’s bring to the Court’s attention an issue relating to
                          10 the enforceability of the claim as opposed to involving the meaning of a specific
                          11 claim term.
                          12 II.         The Patent at Issue: U.S. Patent No. 8,448,476
                          13             U.S. Patent No. 8,448,476 (the ‘476 Patent) is titled Warp Knitting Fabrics
                          14 Having Ground Organization Expressing Various Design Patterns. As noted in the
                          15 ‘476 Patent’s abstract, the fabrics are made of (i) a ground organization formed
                          16 with warps knitted into a loop shape and (ii) a pattern organization knitted on the
                          17 ground organization, wherein the ground organization consists of different sections,
                          18 patterns and designs of loops.
                          19 III.        Construction of Claim Terms Agreed To By The Parties
                          20              After significant discussions, the parties were able to agree to the
                          21 constructions of the terms identified below. See Joint Claim Construction and
                          22 Prehearing Statement (Dkt. 32). For the more involved constructions, the parties
                          23 have included a reference to the specification of the ‘476 Patent. For constructions
                          24 that are more straight-forward, the parties have not included such a reference.
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      BUCHALTER
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        LOS ANG ELES
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                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 3 of 14 Page ID #:260



                                1 Claim(s)      Term or Phrase            Agreed Construed          Specification
                                2                                         Meaning                   Support
                                  1, 2, 3, 4,   “Warp knitting fabrics”   Cloth material            1:25-28
                                3 5, 6, 7, 8                              created by
                                4                                         interlacing a plurality
                                                                          of yarns arranged in
                                5                                         parallel with one
                                6                                         another into loops
                                                                          and sequentially
                                7                                         connecting the loops
                                8                                         in a lengthwise
                                                                          direction of the
                                9                                         material.
                          10 1, 5, 6, 7         “ground organization”     The underlying
                                                                          material.
                          11 1                  “warps”                   Longitudinal running      1:25-28
                          12                                              yarns (threads) in a
                                                                          fabric.
                          13
                                    1           “knitted”                 Interlacing of at least
                          14                                              two yarns into a
                                                                          pattern or stitch.
                          15
                                    1, 4        “loop shape”              The form of the           2:29-52; 4:62-
                          16                                              space defined by the      5:4; 5:58-63; 7:3-
                                                                          yarns once                21; Fig. 21
                          17
                                                                          interlaced.
                          18 1                  “pattern organization”    A design or shape of      1:45-48, 3:8-12,
                          19                                              yarns other than the      7:10-29, Fig. 21.
                                                                          “ground
                          20                                              organization.”
                          21 1                  “knitted on the ground    Interlacing of the        7:22-29
                                                organization”             pattern organization
                          22                                              yarns with the
                          23                                              ground organization
                                                                          yarns.
                          24 1, 5, 6, 7         “unit designs”            Design constituting       4:10-12
                          25                                              one cycle of unit
                                                                          organizations in the
                          26                                              knitting direction
                          27                                              (longitudinal
                                                                          direction).
                          28
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
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                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 4 of 14 Page ID #:261



                                1 1             “continuously arranged”      In an uninterrupted
                                2                                            sequence.
                                  1, 5, 6, 7    “transverse direction”       In the non-knitting      4:10-12
                                3                                            direction (side to
                                4                                            side).
                                  1, 2, 3, 5,   “unit organizations”         A ground                 4:6-9
                                5 6, 8                                       organization
                                6                                            having a network
                                                                             structure of a certain
                                7                                            shape, formed by a
                                8                                            plurality of unit
                                                                             chains assembled so
                                9                                            that chain number
                          10                                                 groups are
                                                                             consecutively
                          11                                                 repeated.
                          12 1, 2, 8            “longitudinal direction”     In the knitting          4:10-12
                                                                             direction (up and
                          13
                                                                             down).
                          14 1                  “specific loop shape”        A particular             5:1-4
                                                                             geometric shape of
                          15
                                                                             knitted yarns.
                          16 1, 4               “network structure”          The configuration of     3:3-7
                                                                             unit organizations
                          17
                                                                             with one another.
                          18 1, 3               “chain of a specific chain A group composed           4:3-6
                          19                    number group”                of a plurality of
                                                                             numbers obtained by
                          20                                                 consecutively
                          21                                                 arranging chain
                                                                             numbers of unit
                          22                                                 chains.
                          23 1, 3               “array of plurality of chain A set of numbers         5:5-20
                                                numbers”                     associated with
                          24                                                 sections of a chain
                          25                                                 that indicate the
                                                                             movement of needles
                          26                                                 for that section of
                          27                                                 chain
                                    1           “each of the unit            Every one of the unit
                          28
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                            4
                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 5 of 14 Page ID #:262



                                1             organizations”              organizations.
                                2 1           “has a different loop       Has a different
                                              shape”                      geometric shape of
                                3                                         knitted yarns.
                                4 1           “from each other”           Other unit
                                                                          organizations apart
                                5                                         from the one referred
                                6                                         to.
                                    2         “consecutively knitting”    An uninterrupted
                                7                                         knitting sequence.
                                8 2           “a plurality of loops”      At least two loops.
                                  2           “having the same shape”     Having the same
                                9
                                                                          geometric shape.
                          10 3                “two ground guidebars”      Two different bars    4:14-42
                                                                          used to control the
                          11
                                                                          yarn knitted into
                          12                                              ground organization.
                                    3         “linked with the chain”     Coupled with a        5:5-20
                          13
                                                                          single chain.
                          14 3                “of the specific chain      A group composed      4:3-6
                          15                  number group”               of a plurality of
                                                                          numbers obtained by
                          16                                              consecutively
                          17                                              arranging chain
                                                                          numbers of unit
                          18                                              chains.
                          19
                          20 IV.        UNABLE TO CONSTRUE CERTAIN TERMS – 35 U.S.C. 112
                          21            Dependent claims 5-8 fail to meet the statutory requirements. That being
                          22 said, it is Defendant’s position that it is not necessary to construe these claims
                          23 because (i) if the prior art renders claims 1-4 invalid, claims 5-8 will be invalid as
                          24 well and (ii) if the accused product does not infringe independent claim 1, it cannot
                          25 infringe claims 5-8. As Plaintiff does not concur with the above, we will address
                          26 the issues relating to these claims below.
                          27            A. All Patent Claims Must Meet Statutory Requirements to Be Valid
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      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                          5
                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 6 of 14 Page ID #:263



                                1        United States Patent No. 8,448,476 (“the ‘476 patent”), just like all other
                                2 issued United States Patents, is statutorily required to “conclude with one or more
                                3 claims particularly pointing out and distinctly claiming the subject matter which the
                                4 applicant regards as his invention.” [The ‘876 patent was filed prior to March 16,
                                5 2013, the enactment date of the America Invents Act (“AIA”).The quoted section is
                                6 from pre-AIA 35 U.S.C. § 112, second paragraph.]
                                7        Some of these statutory requirements are that the claims are novel [Pre-AIA
                                8 35 U.S.C. § 102.], non-obvious [Pre-AIA 35 U.S.C. § 103.], supported by the
                                9 specification [Pre-AIA 35 U.S.C. § 112, first paragraph.], and definite. [Pre-AIA 35
                          10 U.S.C. § 112, second paragraph.]
                          11             Claims 5 through 8 of the ‘476 patent are both not supported by the
                          12 specification, and indefinite. Therefore, claims 5 through 8 of the ‘476 patent are
                          13 invalid as failing to meet the statutory requirements for patents.
                          14             B.     The Claims Are Not Supported By the Specification
                          15             A patent is invalid for indefiniteness if its claims, read in light of the patent’s
                          16 specification and prosecution history, fail to inform, with reasonable certainty,
                          17 those skilled in the art about the scope of the invention. Nautilus, Inc. v. Biosig
                          18 Instruments, Inc., 134 S. Ct. 2120 (2014). The first paragraph of section 112 of the
                          19 Patent Act, 35 U.S.C. § 112, states that the specification shall contain a written
                          20 description of the invention, and of the manner and process of making and using it,
                          21 in such full, clear, concise, and exact terms as to enable any person skilled in the art
                          22 to which it pertains . . . to make and use the same. [Pre-AIA 35 U.S.C. § 112, first
                          23 paragraph, as cited in Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).]
                          24             The first paragraph of section 112 of the Patent Act requires that the
                          25 specification describe the invention set forth in the claims. The relationship
                          26 between the specification and the claims is, at the core, the issue at bar in a
                          27 Markman Hearing. Markman v. Westview Instruments. Inc., 52 F.3d 967, 979-81
                          28 (Fed. Cir. 1995) (en banc), aff'd, 517 U.S. 370 (1996). This relationship has been
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                              6
                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 7 of 14 Page ID #:264



                                1 clarified several times in cases decided since Markman. See, e.g., Vitronics Corp. v.
                                2 Conceptronic, Inc., 90 F.3d 1576 (Fed. Cir. 1996), Innova/Pure Water, Inc. v.
                                3 Safari Water Filtration Systems, Inc., 381 F.3d 1111 (Fed. Cir. 2004), but the
                                4 bedrock principle of patent law remains the same: “the claims of a patent define the
                                5 invention to which the patentee is entitled the right to exclude.” Id. at 1115.
                                6         The ordinary and customary meaning of a claim term is the meaning that the
                                7 term would have to a person of ordinary skill in the art in question as of the
                                8 effective filing date of the patent application. Home Diagnostics, Inc. v. Lifescan,
                                9 Inc., 381 F.3d 1352, 1358 (Fed. Cir. 2004). Although some claim terms may be
                          10 interpreted “through the viewing glass of a person skilled in the art,” Ferguson
                          11 Beauregard/Logic Controls v. Mega Svs. LLC, 350 F.3d 1327. 1338 (Fed. Cir.
                          12 2003), the use of other terms are readily apparent and involve little more than the
                          13 application of the widely accepted meaning of commonly understood words. Brown
                          14 v. 3M, 265 F.3d 1349, 1352 (Fed Cir. 2001).
                          15              So long as the sources used to construe the meaning of the claims do not
                          16 contradict meanings that are unambiguous in light of the intrinsic evidence, the
                          17 Court is not barred from any particular sources Vitronics Corp. v. Conceptronic,
                          18 Inc., 90 F.3d 1576 (Fed. Cir. 1996), other than inventor testimony when assessing
                          19 validity under 35 U.S.C. § 112, second paragraph. Solomon v. Kimberly-Clark
                          20 Corp., 216 F.3d 1372, 1379 (Fed. Cir. 2000).
                          21              The patentee must define precisely what his invention is: “[I]t is unjust to the
                          22 public, as well as an evasion of the law, to construe [the claims] in a manner
                          23 different from the plain import of its terms.” White v. Dunbar, 119 U.S. 47, 52
                          24 (1886).
                          25              C. Relevant Portions of the Claims and Specification
                          26                    1.     Claims
                          27 Claim 1:
                          28 Warp knitting fabrics, comprising:
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                              7
                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 8 of 14 Page ID #:265



                                1 a ground organization formed with warps knitted into a loop shape; and
                                2 a pattern organization knitted on the ground organization,
                                3        wherein the ground organization includes two or more unit designs
                                4 continuously arranged in a transverse direction of the ground organization,
                                5        each of the unit designs comprises two or more unit organizations
                                6 arranged in a longitudinal direction of the ground organization, each of the unit
                                7 organizations comprising a specific loop shape of a network structure formed by a
                                8 chain of a specific chain number group comprising an array of a plurality of chain
                                9 numbers, and
                          10             each of the unit organizations has a different loop shape of a network
                          11 structure from each other.
                          12 5. The warp knitting fabrics according to claim 1, wherein the ground organization
                          13 comprises at least two-row unit designs, and the unit organizations of any one
                          14 unit design are arrayed in zigzag with the unit organizations of another unit
                          15 design in the transverse direction.
                          16 6. The warp knitting fabrics according to claim 1, wherein the ground organization
                          17 comprises at least two-row unit designs, and the unit organizations of any one
                          18 unit design are arrayed in parallel with unit the organizations of another unit
                          19 design in the transverse direction.
                          20 7. The warp knitting fabrics according to claim 1, wherein the ground organization
                          21 comprises at least two-row unit designs, and the width of any one unit design is
                          22 wider than that of another unit design adjacent to the one unit design in the
                          23 transverse direction.
                          24 8. The warp knitting fabrics according to claim 1, wherein the length of one unit
                          25 organization is longer than that of another unit organization adjacent to the
                          26 one unit organization in the longitudinal direction.
                          27                    2.    Specification
                          28             Referring to FIG. 12, the unit designs are arrayed in two rows in the ground
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                            8
                   Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 9 of 14 Page ID #:266



                                1 organization, and are arrayed in parallel in the transverse direction of the unit
                                2 organization. Referring to FIG. 13, the unit organizations are arrayed in zigzag in
                                3 the transverse direction in the ground organization. Referring to FIG. 14, the unit
                                4 organizations are irregularly arrayed in the ground organization. Referring to FIG.
                                5 15, the unit designs are arrayed in two rows in the ground organization, and the
                                6 first and second unit designs have the unit organizations of different network
                                7 structures from each other.
                                8         Referring to FIG. 16, the unit designs are arrayed in two rows, and the unit
                                9 organizations are arrayed in parallel in the transverse direction. The width of the
                          10 first unit design is formed different from that of the second unit design.
                          11              Referring to FIG. 17, the unit designs are arrayed in two rows, and the unit
                          12 organizations are arrayed in zigzag in the transverse direction. The width of the first
                          13 unit design is formed different from that of the second unit design.
                          14              D.    The term “Two-Row” in Claims 5, 6 and 7 is Indefinite
                          15              35 U.S.C. §112, second paragraph requires that a patent’s claims, viewed in
                          16 light of the specification and prosecution history, inform those skilled in the art
                          17 about the scope of the invention with reasonable certainty. White v. Dunbar, 119
                          18 U.S. 47, 52 (1886). Claims 5 through 7 fail this requirement:
                          19              5. The warp knitting fabrics according to claim 1, wherein the ground
                          20 organization comprises at least two-row unit designs, and the unit organizations of
                          21 any one unit design are arrayed in zigzag with the unit organizations of another unit
                          22 design in the transverse direction. Claims 6 and 7 employ similar usages of the
                          23 term “two-row.”
                          24              Claim 5 depends on claim 1. The term “two-row” is not listed in claim 1. As
                          25 discussed with respect to indefinite article “a,” the first reference in a claim shall be
                          26 preceded by an indefinite article. No indefinite article is present immediately
                          27 preceding “two-row.”
                          28              Further, the term “two-row” is only used in the specification in three
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                             9
                 Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 10 of 14 Page ID #:267



                                1 locations: Col. 2, line 53, Col. 2, line 57, and Col. 2, line 61. These recitations are
                                2 virtual copies of claims 5 through 7 in the specification.
                                3         Again, the applicant is allowed, and statutorily required, to draft the claim
                                4 language to particularly define what they wish to obtain protection for. [Nautilus,
                                5 Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120 (2014).] It is not up to the court to
                                6 save the applicant, or their chosen counsel, for errors in defining that for which
                                7 protection is sought; it is the court’s duty to interpret the claim terms in light of the
                                8 specification and other evidence. Markman v. Westview Instruments. Inc., 52 F.3d
                                9 967 (Fed. Cir. 1995) (en banc), aff'd, 517 U.S. 370 (1996). There simply is no
                          10 evidence, in the specification or otherwise, to define the term “two-row.”
                          11              Although applicant may point to the use of “two rows” in the specification as
                          12 recited in Col. 6, line 46, Col. 6, lines 49-50, and Col. 6, lines 53-54, such reliance
                          13 is misplaced when claim 5 is read, as required, in conjunction with claim 1:
                          14 “…wherein the ground organization includes two or more unit designs arranged in
                          15 a transverse direction….” [See ‘476, claim 1, lines 5-6.] All of the claims of the
                          16 ‘476 patent [Claim 1 is the only independent claim; thus, all claims include the
                          17 limitations of claim 1.] already require at least two rows of unit designs. Thus, the
                          18 inclusion of “two-row” (or “two row”) is indefinite.
                          19              Although absolute precision in claim language is “unattainable,” [Nautilus,
                          20 Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120 (2014).], the Supreme Court has
                          21 mandated that “reasonable” certainty is required. [Ibid.] A patent claim must be
                          22 precise enough to afford clear notice of what is being protected, [Markman v.
                          23 Westview Instruments. Inc., 52 F.3d 967 (Fed. Cir. 1995) (en banc), aff'd, 517 U.S.
                          24 370 (1996)] and must be done so in a manner that avoids a zone of uncertainty
                          25 which enterprise and experimentation may enter only at the risk of infringement.
                          26 [United Carbon Co. v. Binney & Smith Co., 317 U.S. 228 (1942).]
                          27              The term “two-row” is not defined in any part of the specification; even a
                          28 commonly used definition for the term is nonsensical when read in the context of
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                              10
                 Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 11 of 14 Page ID #:268



                                1 the ‘476 claims. As such, claims 5 through 7 of the ‘476 patent are invalid for
                                2 failing to meet the statutory requirements of 35 U.S.C. § 112, second paragraph.
                                3        E.     Claim 6 Is Not Supported, Indefinite, or Both
                                4        The court may correct the claim language as drafted if, and only if, there is
                                5 an obvious and correctable error in the claim, the construction of which is not
                                6 subject to reasonable debate. United Carbon Co. v. Binney & Smith Co., 317 U.S.
                                7 228 (1942). In a Markman hearing, the court must interpret the claims as drafted in
                                8 light of the specification, taking into account any common usage of the
                                9 terminology. Markman v. Westview Instruments. Inc., 52 F.3d 967 (Fed. Cir. 1995)
                          10 (en banc), aff'd, 517 U.S. 370 (1996).
                          11             Claim 6 reads as follows: The warp knitting fabrics according to claim 1,
                          12 wherein the ground organization comprises at least two-row unit designs, and the
                          13 unit organizations of any one unit design are arrayed in parallel with unit the
                          14 organizations of another unit design in the transverse direction. (Emphasis
                          15 added).
                          16             The term “unit the organizations of another unit design” may be an “obvious
                          17 and correctable error,” [CBT Flint Partners, LLC v. Return Path, Inc., 654 F.3d
                          18 1353 (Fed. Cir. 2011)] and if not corrected, is indefinite under 35 U.S.C. § 112 as
                          19 lacking antecedent basis in either claim 1 or claim 6. Should the court decide to
                          20 correct this term to read “the unit organizations of another unit design,” then the
                          21 court would create a corrected claim that is reasonably subject to multiple
                          22 meanings, rendering it also deficient under 35 U.S.C. 112, second paragraph, or
                          23 both.
                          24             “The unit organizations of another unit design” has no proper antecedent
                          25 basis in either claim 1 or claim 6. It is unclear if “the unit organizations of another
                          26 unit design” refers to “two or more unit organizations arranged in a longitudinal
                          27 direction”, “each of the unit organizations,” or both. Depending on which one or
                          28 both of these terms, or neither term, none of which correspond with the corrected
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                            11
                 Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 12 of 14 Page ID #:269



                                1 “the unit organizations of another unit design,” the scope of the claim as corrected
                                2 would be dramatically different. Such a correction cannot meet the “obvious and
                                3 correctable error” standard set in CBT Flint Designs, as the construction of the
                                4 claims would be dramatically different. The claim as drafted, or even as corrected,
                                5 does not and cannot provide reasonable certainty as to the meaning of this claim
                                6 term. [Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120 (2014).] Thus,
                                7 claim 6 fails the statutory requirements of 35 U.S.C. § 112, second paragraph.
                                8        F.     Claims 7 and 8 Are Indefinite
                                9        “When I use a word, it means just what I choose it to mean—neither more
                          10 nor less.” [Lewis Carroll (Charles L. Dodgson), Through the Looking-Glass,
                          11 chapter 6, p. 205 (1934).] “The question is whether you can make words mean so
                          12 many different things.” [Ibid.] The Supreme Court has banned the “amenable to
                          13 construction” or “insolubly ambiguous” formulations, and has eliminated the
                          14 temptations toward vagueness by requiring reasonable precision under 35 U.S.C.
                          15 §112. [Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120 (2014).]
                          16             The patent drafter, not the court, is in the best position to resolve the
                          17 ambiguity in patent claims. Halliburton Energy Servs., Inc. v. M–I LLC, 514 F. 3d
                          18 1244, 1255 (CA Fed. 2008). See also Hormone Research Foundation, Inc. v.
                          19 Genentech, Inc., 904 F. 2d 1558, 1563 (CA Fed. 1990). As such, the patent drafter
                          20 should remedy possible inconsistencies in claim language during prosecution,
                          21 rather than relying on the court to rescue the applicant from easily repairable
                          22 grammar and/or references in patent claims.
                          23             Claim 7. The warp knitting fabrics according to claim 1, wherein the ground
                          24 organization comprises at least two-row unit designs, and the width of any one unit
                          25 design is wider than that of another unit design adjacent to the one unit design in
                          26 the transverse direction. (Emphasis added).
                          27             8. The warp knitting fabrics according to claim 1, wherein the length of one
                          28 unit organization is longer than that of another unit organization adjacent to the one
      BUCHALTER
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                                                             12
                 Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 13 of 14 Page ID #:270



                                1 unit organization in the longitudinal direction. (Emphasis added).
                                2         In this case, the patent drafter wants the court to rescue them from their
                                3 laziness; instead of writing the clear, definite “a width of another unit design” in
                                4 claim 7 and “a length of another unit organization” in claim 8, the patent drafter
                                5 chooses to confusingly employ a pronoun: “that.”
                                6         As the Supreme Court stated, “possibility” of interpretation is not the
                                7 standard that the court may apply. [Nautilus, Inc. v. Biosig Instruments, Inc., 134 S.
                                8 Ct. 2120 (2014).] Further, the court cannot use the applicant’s testimony as to the
                                9 definiteness of the term “that” in claims 7 and 8. Solomon v. Kimberly-Clark Corp.,
                          10 216 F.3d 1372, 1379 (Fed. Cir. 2000). The court should refuse to reward such
                          11 lackadaisical drafting techniques by allowing the applicant to redefine “that” to
                          12 mean “width” in one claim and “length” in another, because “that” should not have
                          13 so many different meanings.
                          14 V.           Claim 1 Is Not Supported, Indefinite, or Both
                          15              Claim 1 reads in pertinent part: “warp knitted fabrics that comprise a ground
                          16 organization with two or more unit organizations, where each unit organization
                          17 comprises a specific loop shape of a network structure, and each of the unit
                          18 organizations has a different loop shape of a network structure from each other.”
                          19 [See ‘476, claim 1, lines 11-15.] (Emphasis added).
                          20              In patent claim parlance, the first use of a noun in a claim is preceded by the
                          21 indefinite article “a” or “an” to indicate such first usage; any subsequent references
                          22 to the same noun in the claim, or any dependent claim, is preceded by definite
                          23 articles “the” or “said.” The recitation of “a network structure” in claim 1, line 11
                          24 indicates, the first usage of the claim element “network structure”. The applicant
                          25 again uses the indefinite article “a” to refer to “network structure” in claim 1, line
                          26 15. Thus, by the common understanding of claim language drafted by the plaintiff,
                          27 “a network structure” in line 15 must refer to “a network structure” different than
                          28 that mentioned in line 11.
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                 Case 2:18-cv-02625-JAK-AS Document 34 Filed 10/17/18 Page 14 of 14 Page ID #:271



                                1         Because the network structures listed in claim 1 must be different from each
                                2 other, there must be two different network structures shown in the specification to
                                3 support such an interpretation for the claim to comport with 35 U.S.C. § 112, first
                                4 paragraph. Nowhere in the specification does the applicant describe two network
                                5 structures.
                                6         Regardless of the intrinsic and extrinsic evidence relied upon, applicant is
                                7 unable to provide support for ‘476 claim 1 under 35 U.S.C. § 112, first paragraph,
                                8 nor can applicant provide support for ‘476 claim 1 under 35 U.S.C. § 112, second
                                9 paragraph, for at least the reasons discussed herein, rendering claim 1 statutorily
                          10 unenforceable.
                          11              VI.   CONCLUSION
                          12              Defendant respectfully asks the Court to construe the claims in accordance
                          13 with the above.
                          14
                          15 DATED: October 17, 2018                       BUCHALTER
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